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December 31, 2024

VIA ECF

The Honorable Arun Subramanian
United States District Judge
United States District Court, Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

Re:      United States et al. v. Live Nation Entertainment, Inc. et al.; 1:24-cv-03973-AS-SLC

Dear Judge Subramanian:

       Plaintiff the United States of America and the Plaintiff States (collectively, “Plaintiffs”),
and Defendants Live Nation Entertainment, Inc. and Ticketmaster L.L.C. (collectively,
“Defendants”), submit this joint letter and the Parties’ Expert Stipulation and Proposed Order
Regarding Expert Discovery (attached as Exhibit A) pursuant to Fed. R. Civ. P. 29. After meeting
and conferring over several weeks, the parties have reached agreement on issues relating to the
scope of expert discovery and testimony in this action, and the Proposed Order Regarding Expert
Discovery reflects that agreement and is consistent with orders in similar cases.

                                  [signatures on following page]




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1
 Defendants use electronic signatures with consent in accordance with Rule 8.5(b) of the Court’s
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